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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

THE UNITED STATES OF AMERICA                     §
                                                 §
VS                                               §    CAUSE NO.: 2:15-cr-04268 JB
                                                 §
MARIO RODRIGUEZ                                  §
                                                 §



                  UNOPPOSED MOTION TO CONTINUE SENTENCING

TO THE HONORABLE JUDGE OF SAID COURT:

     COMES NOW Defendant, MARIO RODRIGUEZ, by and through his undersigned

Attorney, SANTIAGO D. HERNANDEZ, and hereby moves this Court to enter an order

continuing the Sentencing Hearing set for October 22, 2019 at 3:30 p.m. and in support thereof

would show the following:

1. The Defendants were charged in an Indictment to include 18:1959(a)(1): VIOLENT

CRIMES IN AID OF RACKETEERING (MURDER); 18:2 AIDING AND

ABETTING. In compliance with the provisions of 18 U.S.C. § 3161 (h)(7)(A), the

undersigned affirmatively state that the ends of justice will be served by granting this

continuance. Specifically, as required in United States v. Toombs. 574 F.3d 1262 (10th Cir.2009).

Defense counsel, Santiago D. Hernandez, is requesting additional time to resolve objections to

the Presentence Reports.

2. The Defendants request a continuance of the Sentencing Hearing for an additional 30 days.

This requested continuance is in Defendants’ best interest. Defendant is in custody.

3. The United States Assistant District Attorney, Maria Armijo, does not oppose the

continuance.
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                                                     Respectfully submitted,

                                                     /s/ Santiago D. Hernandez
                                                     SANTIAGO D. HERNANDEZ
                                                     Bar # 24035668
                                                     1219 E. Missouri
                                                     El Paso, Texas 79932
                                                     (915) 351-4300
                                                     (915) 351-4372




                                CERTIFICATE OF SERVICE

        The undersigned attorney herby certifies that on the 4th day of October, 2019, a true and
correct copy of the foregoing instrument was electronically filed with the Clerk of the Court
using the CM/ECF System and copies of this Motion will be sent to the U.S. Attorney’s Office
and all counsel of record.




                                                   /s/ Santiago D. Hernandez
                                                   Santiago D. Hernandez
